                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN

REBECCA TERRY,                          )
                                        )
     Plaintiff,                         )
                                        )
                        v.              )     No. 17-cv-01112
                                        )
COUNTY OF MILWAUKEE, et al.,            )     Hon. J.P. Stadtmueller
                                        )
     Defendants.                        )     JURY TRIAL
                                        )     DEMANDED
                                        )




                         EXHIBIT 41




     Case 2:17-cv-01112-JPS Filed 09/22/18 Page 1 of 2 Document 182-41
                                       FH - FROEDTERT                Terry, Rebecca
                                       HOSPITAL                      MRN: 10670537, DOB: 10/8/1981, Sex: F
                                       9200 W Wisconsin Ave          Acct #: 6001281947
                                       Milwaukee WI 53226-3522       Adm: 3/9/2014, D/C: 3/10/2014

Interface, Scanned_Docs_In Signed By: Interface, Scanned_Docs_In at 3/11/2014 2:54 PM (continued)

   Electronically signed by Interface, Scanned_Docs_In at 3/11/2014 2:54 PM
Discharge Summaries Signed By: Narayan, Raj, MD at 3/10/2014 6:52 AM
   Author: Narayan, Raj, MD              Service: Obstetrics/Gynecology            Author Type: Physician
   Filed: 3/10/2014 6:52 AM              Date of Service: 3/10/2014 1:12 AM Status: Signed
   Editor: Narayan, Raj, MD (Physician)
   Related Notes: Original Note by Dickerhoff, Lindsay A, MD (Resident) filed at 3/10/2014 1:14 AM

                                         Discharge Summary-Obstetrics

   Rebecca Terry a(n) 32 Y old female admitted on 3/9/2014 and discharged on 3/10/2014.
   Estimated Date of Delivery: 3/18/14

   Active Problems:
    Uterine contractions at greater than 20 weeks of gestation (3/10/2014)

   Patient was a G13P2092 @ 38w6d who presented for medical clearance to be transferred to jail.
   Pregnancy had been complicated by minimal prenatal care and drug use (marijuana and heroin).
   She denied leaking of fluid, vaginal bleeding, and decreased fetal movement. She had been
   experiencing intermittent abdominal cramping since this morning. Patient made no cervical change
   and was discharged.

   Prenatal Course:
   Dated by 8 week US at St Joseph's.
   OB panel: preliminary: A Pos, no antibodies, 13.7/40, rubella immune, Hep B negative.
   Urine drug panel positive for cocaine, marijuana and opiates.

Discharge condition: stable
Will get prenatal care through the Jail.

3/10/2014 1:12 AM Lindsay A Dickerhoff, MD




   Electronically signed by Narayan, Raj, MD at 3/10/2014 6:52 AM
H&P Signed By: Narayan, Raj, MD at 3/10/2014 6:49 AM
  Author: Narayan, Raj, MD              Service: Obstetrics/Gynecology            Author Type: Physician
  Filed: 3/10/2014 6:49 AM              Date of Service: 3/9/2014 10:54 PM        Status: Signed
  Editor: Narayan, Raj, MD (Physician)
  Related Notes: Original Note by Dickerhoff, Lindsay A, MD (Resident) filed at 3/10/2014 1:12 AM

                                              OB History and Physical
                                                                     Terry, Rebecca
                                                                     MRN: 10670537, DOB: 10/8/1981, Sex: F

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